      Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 1 of 21




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

THOMAS WHITAKER and                          §
PERRY WILLIAMS,                              §
  Plaintiffs,                                §
                                             §
vs.                                          §   CIVIL ACTION NO. H-13-2901
                                             §
BRAD LIVINGSTON, et al                       §
  Defendants.                                §


              PLAINTIFFS’ SECOND AMENDED COMPLAINT


        The Plaintiffs, THOMAS WHITAKER and PERRY WILLIAMS move the

Court for entry of judgment in their favor against Brad Livingston et al and in

support plead as follows:

                              NATURE OF ACTION

        1.    This action is brought pursuant to 42 U.S.C. § 1983 for violations and

threatened violations of Plaintiffs’ rights under the First, Sixth, Eighth and

Fourteenth Amendments to the U.S. Constitution to be free from cruel and usual

punishment, right of access to the courts, right to counsel, and right to due process

of law. Plaintiffs seek injunctive relief.

                                    PLAINTIFFS




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                       Page 1 of 21
    Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 2 of 21




      2.     Plaintiff Thomas Whitaker is a person within the jurisdiction of the

State of Texas. He is currently a death-sentenced inmate under the supervision of

the Texas Department of Criminal Justice, TDCJ #999522. He is confined at the

Polunsky Unit in Livingston, Texas.        His federal habeas appeal is currently

pending in the Southern District of Texas, Houston Division. No execution date is

currently scheduled.

      3.     Plaintiff Perry Williams is a person within the jurisdiction of the State

of Texas. He is currently a death-sentenced inmate under the supervision of the

Texas Department of Criminal Justice, TDCJ #999420. He is confined at the

Polunsky Unit in Livingston Texas. His state and federal habeas appeals have

been completed. Mr. Williams was scheduled for execution on September 29,

2015. On September 1, 2015, that date was withdrawn by the state habeas court.

There is no execution date currently scheduled.

      4.     Plaintiffs are not challenging their convictions or sentences of death in

this action. They are challenging the manner and means by which Defendants will

carry out their sentences of death.

                                  DEFENDANTS

      5.     Defendant Brad Livingston is the Executive Director of the Texas

Department of Criminal Justice. Mr. Livingston has appeared herein.

      6.     Defendant William Stephens is the Director of the Correctional


PLAINTIFFS’ SECOND AMENDED COMPLAINT                                        Page 2 of 21
    Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 3 of 21




Institutions Division of the Texas Department of Criminal Justice (“TDCJ”), and

holds the power, by statute, to determine and supervise the manner by which death

sentenced inmates are executed. Tex. Code Crim. Proc. art. 43.14. Mr. Stephens

has appeared herein.

      7.     Defendant James Jones is the Senior Warden of the Huntsville Unit,

where executions take place. Mr. Jones has appeared herein.

      8.     Defendants Unknown Executioners are employed by the Texas

Department of Criminal Justice and carry out executions in Texas. Plaintiffs do

not yet know their identities because the TDCJ conceals them.

      9.     The Defendants are all state officials acting, in all respects relevant to

this action, under color of state law. They are all sued in their official capacities.

                            JURISDICTION & VENUE

      10.    This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal

question), 1343 (civil rights violations), 2201 (declaratory relief), and 2202 (further

relief). This action arises under the Eighth and Fourteenth Amendments to the

United States Constitution and under 42 U.S.C. § 1983.

      11.    Venue in this Court is proper under 28 U.S.C. § 1391, and this Court

has personal jurisdiction over the defendants in this matter because the events

giving rise to this claim – both executions and the procurement and maintenance of

drugs used in the lethal injection process – occur in Huntsville, Texas.


PLAINTIFFS’ SECOND AMENDED COMPLAINT                                          Page 3 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 4 of 21




                         EXHAUSTION OF REMEDIES

      12.    While Plaintiffs submit that exhaustion is not required, as there is no

administrative procedure available to address the issues raised herein, Plaintiffs

have nonetheless attempted to exhaust remedies by filing grievances with the

TDCJ.

                          FACTUAL ALLEGATIONS

      13.    Under Texas law, Defendants have the statutory authority and duty to

establish and administer a lethal injection protocol. The Texas Code of Criminal

Procedure provides:

      Whenever the sentence of death is pronounced against a convict, the
      sentence shall be executed at any time after the hour of 6 p.m. on the
      day set for the execution, by intravenous injection of a substance or
      substances in a lethal quantity sufficient to cause death and until such
      convict is dead, such execution procedure to be determined and
      supervised by the Director of the Institutional Division of the Texas
      Department of Criminal Justice.

Tex. Code Crim. Proc. art. 43.14 (Vernon Supp. 2004–2005). “No torture, or ill

treatment, or unnecessary pain, shall be inflicted upon a prisoner to be executed

under the sentence of the law.” Id. art. 43.24.

      14.    The current execution protocol was written and adopted in June, 2012.

      15.    TDCJ’s Director has the unilateral power to change the protocol at

any moment. Tex. Code Crim. Proc. art. 43.14.




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                       Page 4 of 21
    Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 5 of 21




      16.    As detailed below, TDCJ’s current Execution Protocol does not

contain the safeguards necessary to protect plaintiffs from the risk of cruel and

unusual punishment at the time of their executions.

      17.    Texas currently uses compounded pentobarbital to carry out

executions, which is classified by the Drug Enforcement Administration (DEA) as

a Schedule II controlled substance.

      18.    In September 2013 Texas began purchasing and using compounded –

rather than manufactured - pentobarbital to carry out executions.

      19.    Pharmacy compounding is a practice by which a pharmacist

combines, mixes, or alters ingredients in response to a prescription to create a

medication tailored to the medical needs of an individual patient. Independent

laboratories can test compounded drugs for a variety of measures, including

identity, strength, and contaminants.

      20.    Commercial pharmaceutical products (manufactured pharmaceutical

products) require compliance with a rigorous licensing process and are the result of

substantial scientific research and development programs.

      21.    Pharmaceutical compounded preparations (compounded preparations)

have numerous exemptions from licensing process and accordingly, do not require

established scientific investigations (“proof”) for specific formulations.




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                         Page 5 of 21
      Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 6 of 21




         22.     Compounded pentobarbital is classified as a high-risk sterile

injectable. See United States Pharmacopeia (“USP”) General Chapter <797>,

Pharmaceutical Compounding – Sterile Preparations.1

         23.     Compounded preparations are assigned a “beyond use date,” (BUD)

intended to prevent degradation of a compound that the USP has calculated is

likely to occur after a set time frame. Absent extended sterility testing, USP <797>

sets the BUD for high-risk compounded sterile preparations as follows:

         24 hours, if stored at room temperature,
         72 hours, if kept refrigerated, or
         45 days, if kept in a solid, frozen state

         24.     TDCJ also has in their possession three other drugs purchased for

possible use in executions: propofol, midazolam, and hydromorphone.                      Upon

information and belief, TDCJ is in possession of these drugs in case they are

unable to purchase additional compounded pentobarbital.

         25.     To date, the only information Defendants have disclosed regarding the

drugs with which they are currently carrying out executions is:

                 The June 2012 execution protocol;
                 A redacted laboratory sheet reflecting potency and sterility testing
                 conducted on the current batch of drugs in their possession;
                 The Drug Enforcement Agency (DEA) Form 222 that accompanied
                 the most recent purchase of compounded pentobarbital;
                 The Huntsville Unit Pentobarbital storage inventory;


1
    The USP is the seminal scientific advisory publication concerning the compounding of sterile
     injectables.
PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                 Page 6 of 21
      Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 7 of 21




                A redacted credit card receipt for the relevant purchase of the
                compounded drugs; and
                A ‘use by”2 date for the drugs currently in their possession, which is
                conveyed in an email from Defendants’ general counsel.

         26.    According to information provided by Defendants regarding the

current supply of compounded pentobarbital, as well as information previously

provided regarding prior purchases, the drugs TDCJ uses to carry out executions

are tested one time, shortly before delivery to TDCJ.

         27.    Upon information and belief, no additional testing is conducted before

the drug is used in an execution.

         28.    Defendants’ current supply of compounded pentobarbital was

received on or about June 11, 2015.              The testing of the current supply was

performed on April 17, 2015, and the results of those tests (sterility and potency)

are reflected on a laboratory sheet dated April 28, 2015. The “use by” date of the

current supply disclosed by Defendants is February 9, 2016.

         29.    A previous batch of compounded pentobarbital was received by

Defendants on or about April 28, 2015. The testing of that previous batch was

performed at the same time as the testing performed on the current batch, (tests

performed on April 17; lab sheet dated April 28). The “use by” date of the

previous batch was July 14, 2015.



2
    “Use by date” is the terminology used in Defendants’ communications.
PLAINTIFFS’ SECOND AMENDED COMPLAINT                                         Page 7 of 21
    Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 8 of 21




      30.    The “use by” date assigned to previously tested supplies of

compounded pentobarbital has been anywhere from five months to over a year

from the date of testing.

      31.    The integrity, potency, and sterility of compounded pentobarbital are

affected by: the quality of the “Active Pharmaceutical Ingredient” (API) used to

make the drug; the quality of the compounder and the conditions of the laboratory

in which the drug is compounded; the time between compounding and use; the

assigned BUD and the qualifications of the person assigning same; and the

conditions under which the drug is stored after compounding.

      32.    TDCJ purchases compounded pentobarbital for use in executions in

small batches, generally ranging from three to ten vials. Upon information and

belief, each batch is compounded separately. It is unknown if a different API is

used for each batch. It is unknown if the same compounder, compounding facility,

or testing laboratory are used each time.

                                LEGAL CLAIMS

      33.    Plaintiffs incorporate by reference each and every statement and

allegation set forth throughout this Second Amended Complaint as if fully set forth

herein.

      Count One: The absence of any requirement that Defendants notify
Plaintiffs of any changes in the lethal substance to be used to carry out
executions, or changes to their lethal injection protocol, deprives Plaintiffs of
their ability to protect their right to not be subject to cruel and unusual
PLAINTIFFS’ SECOND AMENDED COMPLAINT                                      Page 8 of 21
    Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 9 of 21




punishment, and violates their right to due process, notice, an opportunity to
be heard, and access to courts in violation of the Eighth and Fourteenth
Amendments to the United States Constitution.

      34.     Under the Texas Code of Criminal Procedure, the TDCJ’s Director

has the unilateral power to change the existing Execution Protocol at any moment.

Tex. Code Crim. Proc. art. 43.14.           For example, although the TDCJ has

represented that it currently uses compounded pentobarbital to carry out the

executions, the Code does not require it to give Plaintiffs any notice at all if the

Director chooses to change the drug used to carry out Plaintiffs’ executions.

      35.     This lack of a notice requirement means that Plaintiffs will not have

sufficient time to litigate whether their executions will be carried out lawfully by

Defendants.    Without timely and meaningful notice, Plaintiffs will be unable to

bring an effective legal challenge to any unlawful aspects of their proposed

execution, which violates the Due Process Clause of the Fourteenth Amendment.

      36.     Further, the fact that the TDCJ can change its execution protocol at

any time prevents Plaintiffs from having meaningful access to courts because they

cannot litigate the means of their execution if they do not know what the means

will be.

      37.     Finally, the fact that the TDCJ can change its execution protocol at

any time deprives Plaintiffs of their ability to protect their right to not be subject to

cruel and unusual punishment.


PLAINTIFFS’ SECOND AMENDED COMPLAINT                                           Page 9 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 10 of 21




       Count Two: The absence of provisions that provide Plaintiffs access to
counsel during the events leading up to and during the course of their
execution deprives Plaintiffs of their right of access to counsel and the courts
in violation of their rights under the First, Sixth and Eighth Amendments and
pursuant to 18 U.S.C. §3599.

      38.    Each Plaintiff has a right to petition the government, guaranteed by

the First and Fourteenth Amendments to the United States Constitution. This right

exists during every stage of an execution.

      39.    Each Plaintiff has a right to consult with and be represented by his

counsel before the courts, guaranteed by 18 U.S.C. § 3599 and the Fourteenth

Amendment to the United States Constitution. This right exists during every stage

of an execution.

      40.    The right to counsel and the right to petition the government provide

the only mechanism whereby a condemned prisoner can challenge violations of the

Eighth and Fourteenth Amendment that may occur on the day of a scheduled

execution, including immediately before and during the execution.

      41.    The current Execution Protocol limits Plaintiffs’ access to counsel on

the day of and during the events leading up to and during the course of their

execution.

      42.    Defendants’ current informal process provides only limited access in

the afternoon of an execution. The Huntsville Unit Warden approves all access to




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                     Page 10 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 11 of 21




counsel. Texas’s execution protocol does not provide for access to counsel during

the I.V. insertion or the execution process.

      43.    By failing to guarantee Plaintiffs access to counsel and the courts up

to and during their executions, Defendants will violate Plaintiffs’ rights under the

First and Fourteenth Amendments to the United States Constitution and under 18

U.S.C. § 3599.

       Count Three: Plaintiffs’ right to not be subject to cruel and unusual
punishment, and their right to due process under the Eighth and Fourteenth
Amendments are violated by: (1) Defendants’ failure to conduct sufficient
testing of the compounded pentobarbital prior to injection; (2) Defendant’s
use of a “use by” date for the compounded pentobarbital that extends far
beyond accepted scientific guidelines; (3) Defendants’ carrying out of
executions under the current Execution Protocol, which lacks appropriate
safeguards to limit the risk that Plaintiffs will suffer severe pain at the time of
their executions.

      44.    As a result of the facts set forth above and those enumerated herein,

there is a substantial risk that Plaintiffs will suffer severe pain at the time of their

executions. That risk is “‘substantial when compared to the known and available

alternatives.’” Glossip v. Gross, 576 U.S. __ (2015), slip op. at 13 (citing Baze v.

Rees, 553 U.S. 35, 61 (2008)). See also Louisiana ex. rel. Francis v. Resweber,

329 U.S. 459 (1984); Gregg v. Georgia, 428 U.S. 153 (1976); LaChance v.

Erickson, 522 U.S. 262 (1998); Mullane v. Central Hanover Bank, 339 U.S. 306

(1950). Hamdi v. Rumsfeld, 542 U.S. 507 (2004).

      A.     Defendants’ Failure to Conduct Sufficient Testing


PLAINTIFFS’ SECOND AMENDED COMPLAINT                                         Page 11 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 12 of 21




      45.    The drugs TDCJ uses to carry out executions are tested one time,

shortly before delivery to TDCJ. Upon information and belief, no additional

testing is conducted before the drug is used in an execution.

      46.    As Plaintiffs’ expert Jim Ruble has stated in his reports, without at

least two potency measurements from the same batch of the compounded

pentobarbital used by the TDCJ at separate points in time, one cannot perform an

analysis to determine the exact degradation rate of the compounded pentobarbital

TDCJ will use to execute Plaintiffs. Given the fact that TDCJ’s “use by” date is

also contrary to USP <797>, as discussed below, this lack of information and

testing makes it impossible to determine to what extent the compounded

pentobarbital has degraded and what the risks to the inmate might be. Thus, due to

these unknowns, the failure to adequately test the batches of compounded

pentobarbital subjects Plaintiffs to a substantial risk of suffering severe pain at the

time of their executions.

      B.     TDCJ’s “Use By” Date

      47.    Absent extended sterility testing, USP <797> sets the Beyond Use

Date for high-risk compounded sterile preparations as follows:


      24 hours, if stored at room temperature,
      72 hours, if kept refrigerated, or
      45 days, if kept in a solid, frozen state



PLAINTIFFS’ SECOND AMENDED COMPLAINT                                        Page 12 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 13 of 21




      48.    The “Use By” date articulated by the TDCJ for the compounded

pentobarbital it currently plans to use to execute inmates is nearly 10 months from

the date of testing (February 9, 2016 for a supply tested on April 17, 2015).

      49.    As has been articulated in the expert reports of Jim Ruble, it is his

opinion that the BUD asserted by Defendants with respect to the compounded

pentobarbital in their possession is not supported by the relevant provisions of the

USP, and in fact, extends far beyond the recommended BUD.                The use of

compounded pentobarbital that has long surpassed its recommended BUD to

conduct executions raises grave concerns about potency, sterility, and stability of

the pentobarbital, and thus of the risk of severe pain to the inmate.

      C.     The Execution Protocol

      50.    TDCJ’s current protocol does not contain the safeguards necessary to

protect Plaintiffs from the risk of cruel and unusual punishment at the time of their

executions. The safeguards important to but lacking in Texas’s protocol include

but are not limited to the following:

       •       Failure to require that the requisite “medically trained” individual
               that is part of the drug team (See 2012 Protocol [Doc. 9-1], Section
               IV.A.; VII.C.) has currency in the practice of setting IV’s or to have
               recently placed peripheral and / or central lines;

       •       Failure to require that the “designated staff on the Huntsvsille Unit .
               . . responsible for ensuring the purchase, storage and control of all
               chemicals used in lethal injection executions” (Id., Sec. V.B.) have
               the scientific background, expertise or training necessary to ensure
               the purchase of quality drugs, or to know the requisite storage and
PLAINTIFFS’ SECOND AMENDED COMPLAINT                                       Page 13 of 21
  Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 14 of 21




             control conditions necessary to ensure continued the drugs
             continued quality and efficacy;

      •      Failure to require that the “inventory and equipment check” and
             verification of “expiration dates” [sic] (Id.) is conducted by qualified
             individuals who are capable of recognizing indicators of sub par or
             otherwise problematic drugs or equipment;

      •      Failure to ensure that the person or persons responsible for
             “mix[ing]” [sic] (Id., Sec. VI) the lethal injection drugs and
             preparing the syringes is medically and scientifically qualified to
             perform those functions;

      •      Failure to ensure that the “medically trained individual” is
             competent to recognize if the “rate of flow is interrupted” (Sec.
             VII.C.) and / or if the lethal injection drugs are being injected into
             the flesh rather than the veins;

      •      Failure to provide for access to counsel during the IV insertion
             process, and failure to provide provisions for counsel to observe the
             IV insertion process;

      •      Failure to ensure that, if IV access in a part of the body other than
             the arm is necessary, that appropriately trained individuals have
             visual access to the insertion point;

      •      Failure to require anything other than “visible signs of life” before a
             back up drug is administered;

      •      Failure to specify a medically specific and sound manner of
             determining death upon the completion of the administration of the
             lethal injection drugs;

      •      Failure to provide for access to counsel if constitutional violations
             arise during the course of an execution; and / or

      •      Established measures for how to proceed if an execution goes awry.



PLAINTIFFS’ SECOND AMENDED COMPLAINT                                      Page 14 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 15 of 21




      51.    Without sufficient safeguards in the execution protocol, also detailed

above, TDCJ cannot determine whether an inmate is subjected to severe pain at the

time of his execution.

      52.    The existing method of execution, and the lethal injection drugs used

to carry out same, precludes Defendants from pleading that they were ‘subjectively

blameless for purposes of the Eighth Amendment.’” Id. at 12 (citing Baze, 553

U.S. at 50

      53.    A known and available alternative to Texas current execution method

exists: a single dose of an FDA approved barbiturate, applied with appropriate

safeguards and transparency that apply to both the execution process and the

manner in which the drugs are selected, purchased, stored, and tested (all relevant

to a determination of the drugs’ efficacy and purity – that is, the risk that it will

cause substantial pain – at the time of the execution.) Appropriate safeguards and

transparency are essential to any alternative method of execution.

      Count Four: Plaintiffs’ right to not be subject to cruel and unusual
punishment, and their right to due process under the Eighth and Fourteenth
Amendments, notice, opportunity to be heard, and access to courts are
violated by: (1) Defendants’ failure to disclose information regarding the
lethal substance or substances TDCJ intends to use to carry out Texas
executions; (2) Defendants’ concealment of information about how the
executions will be carried out.

      54.    TDCJ’s failure to disclose information regarding the lethal substance

or substances TDCJ intends to use to carry out Texas executions – information


PLAINTIFFS’ SECOND AMENDED COMPLAINT                                      Page 15 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 16 of 21




relevant to the integrity, purity, stability and potency of the drug or drugs at the

time of execution – violates their right to not be subject to cruel and unusual

punishment, and their right to due process, notice, an opportunity to be heard, and

access to courts, in violation of the Eighth and Fourteenth Amendments to the

United States Constitution.

      55.    Defendants’ continued concealment of information, such as the

method and means by which the compounding manufacturer prepares the drugs for

executions, which would allow Plaintiffs the ability to ascertain, understand, and

develop their potential claims, is further violation of due process, notice, an

opportunity to be heard, and access to court.

      56.    Defendants    deliberate   concealment    of   information,   including

sufficient notice of information about how Plaintiffs execution will be carried out,

information about the lethal substances that will be used, and information about the

training and qualifications of those tasked with carrying out the execution, violates

Plaintiffs right of access to governmental information under the First and

Fourteenth Amendments to the United States Constitution.

      57.    Due process demands that the State be enjoined from carrying out

Plaintiffs’ executions while it continues to refuse to disclose in a timely and

meaningful manner information critical to a determination of the constitutionality

of its intended actions. Enjoining Plaintiffs’ executions fully comports with


PLAINTIFFS’ SECOND AMENDED COMPLAINT                                       Page 16 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 17 of 21




precedent from the United States Supreme Court recognizing that due process does

not permit the government to benefit from its suppression of information that

might undermine the legality of its intended actions.

      58.    In criminal cases, for instance, “[i]f the Government refuses to

provide state-secret information that the accused reasonably asserts is necessary to

his defense, the prosecution must be dismissed.” Gen. Dynamics Corp. v. United

States, 131 S. Ct. 1900, 1905–06 (2011). See, e.g., Jencks v. United States, 353

U.S. 657, 672 (1957) (holding that a “criminal action must be dismissed when the

Government, on the ground of privilege, elects not to comply with an order to

produce, for the accused’s inspection and for admission in evidence, relevant

statements or reports in its possession of government witnesses touching the

subject matter of their testimony at trial”); cf. Roviearo v. United States, 353 U.S.

53, 60–61 (1957) (holding that “[w]here disclosure of an informer’s identity, or of

the contents of his communication, is relevant and helpful to the defense of an

accused, or is essential to a fair determination of a cause, the privilege must give

way. In these situations, the trial court may require disclosure and, if the

Government withholds the information, dismiss the action”).

      59.    Accordingly, the State should be enjoined from proceeding with

Plaintiffs’ execution until such time as it has timely revealed the information




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                      Page 17 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 18 of 21




outlined above, and Plaintiffs have been provided a reasonable opportunity to be

heard on any Eighth Amendment challenge to their use.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request:

      A.     That Defendants be enjoined from attempting to execute Plaintiffs:

             1.    Under the current Execution Protocol;

             2.    Without providing timely and meaningful notice to Plaintiffs of
                   how they will be executed, including identification of the drugs
                   to be used, the source and characteristics of those drugs, and the
                   method of their administration, including the way that venous
                   access will be obtained;

             3.    Without having access to information regarding the execution
                   process, without having access to counsel at every stage of the
                   proceedings, and without having access to the courts


      B.     A declaration that Defendants’ actions violate Plaintiffs’ First, Sixth,

   Eighth and Fourteenth Amendment rights; and

      C.     Any other such relief as this Court deems just and proper.

   Plaintiffs also request that this Court grant reasonable attorneys’ fees pursuant

to 42 U.S.C. § 1988 and the laws of the United States, as well as for costs of suit.

   Dated this 11th day of September, 2015.




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                        Page 18 of 21
  Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 19 of 21




                            Respectfully Submitted,




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PLAINTIFFS’ SECOND AMENDED COMPLAINT                              Page 19 of 21
  Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 20 of 21




PLAINTIFFS’ SECOND AMENDED COMPLAINT                              Page 20 of 21
   Case 4:13-cv-02901 Document 109 Filed on 09/11/15 in TXSD Page 21 of 21




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 11th day of September, 2015, the foregoing

pleading was filed using the electronic case filing system of this Court. Thus,

counsel of record for Defendants, who have consented to accept this Notice as

service by electronic means, was served via the electronic filing system.




                                 /s/ Bobbie Stratton




PLAINTIFFS’ SECOND AMENDED COMPLAINT                                        Page 21 of 21
